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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA                        :
                                                    :
           v.                                       : CRIMINAL NO. 21-CR-00708 (RCL)
                                                    :
    LEO CHRISTOPHER KELLY,                          :
         Defendant.                                 :


                  DEFENDANT’S UNOPPOSED MOTION FOR THE DEFENDANT AND
                      CO-COUNSEL TO APPEAR VIA ZOOM FOR PRETRIAL
                           CONFERENCE AND MOTIONS HEARING

           The defendant, Leo Kelly, through his attorney, Kira Anne West, respectfully files this

    unopposed motion for the defendant and co-counsel to appear via zoom in the above-captioned

    matter, currently scheduled for April 25, 2023. In support thereof, the defendant states as

    follows:

       1. On January 18, 2021, the defendant was arrested and charged by Criminal Complaint

           with one count of Obstruction, in violation of Unlawful Entry on Capitol Grounds,

           violation of 18 U.S.C. § 1752(a)(1) and (4). On December 3, 2021, the defendant was

           indicted with 7 counts, to include felony obstruction under 18 U.S.C. § 1512.

       2. Trial for this matter is set for May 1, 2023. This Court set a motions hearing and pretrial

           conference for April 25, 2023, by minute order dated 4/3/23. The defendant resides in

           Iowa. Co-counsel for the defendant, Ms. Nicole Cubbage, resides in Dallas, Texas. It

           would be a huge expense monetarily and time-wise for the defendant and Ms. Cubbage

           to appear in person for this hearing.1 Undersigned counsel is prepared to handle the

           pretrial conference and motions hearing by herself.


1
 Undersigned counsel does not foresee any unusual issues for this hearing. The parties are working on exchanging
exhibits and working on stipulations which will be completed before a jury is picked on May 1, 2023.
                                                    1
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         3.      Undersigned counsel has communicated with AUSA James who does

 not oppose this motion.

         4.     Therefore, the defendant would respectfully request that the defendant and

 co-counsel be allowed to appear for this hearing via zoom.


                                Respectfully submitted,

                      By:        /s/ Kira Anne West
                              Kira Anne West
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                              Washington, D.C. 20002
                              202-232-2042
                              kiraannewest@gmail.com
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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                   :
                                            :
        v.                                  : CRIMINAL NO. 21-CR-708(RCL)
                                            :
 LEO CHRISTOPHER KELLY,                     :
          Defendant.                        :



                                           ORDER

       This matter is before the Court pursuant to an unopposed motion for the defendant and

co-counsel to appear at the pretrial conference and motions hearing via Zoom on April 25, 2023.

The motion being unopposed and meritorious, it is:

       ORDERED that the defendant, Leo Kelly, and co-counsel for Mr. Kelly, Ms. Nicole

Cubbage, are allowed to appear at the pretrial conference and motions hearing on April 25, 2023

via Zoom.

SO ORDERED.


                                            ______________________________________
                                            Royce C. Lamberth
                                            United States District Judge




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